Case 2:18-cv-02421-JFW-E Document 135 Filed 07/09/18 Page 1 of 5 Page ID #:2539




   1 BOIES SCHILLER FLEXNER LLP
     David K. Willingham (State Bar No. 198874)
   2   dwillingham@bsfllp.com
     725 South Figueroa Street, Floor 31
   3 Los Angeles, California 90017-5524
     Phone (213J629 9040
   4 Fax. (213)629-9022
   5 Lee S. Wolosky (pro hac vice)
       lwolosky@bsfllp.com
   6 Robert J. Dwyer (pro hac vice)
       rdwyer@bsfllp com
   7 575 Lexington Ave., Floor 7
     New York, NY 10022-6138
   8 Phone: (212)446-2300
     Fax: (212)446-2350
   9
     Amy L. Neuhardt {pro hac vice)
  10   aneuhardt@bsfllp.com
     1401 New York Avenue, NW
  11 Washington, DC 20005-2102
     Phone: (202)237-2727
  12 Fax: (202)237-6131
  13
  14 Counsel for Plaintiffs
  15
                     UNITED STATES DISTRICT COURT
  16        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  17 BROIDY CAPITAL MANAGEMENT                Case No. 18-cv-02421-JFW
     LLC and ELLIOTT BROIDY,
  18                                          DECLARATION OF JOSHUA N.
               Plaintiffs,                    FRIEDMAN IN SUPPORT OF
  19                                          OPPOSITION TO DEFENDANT
                                              STATE OF QATAR’S MOTION TO
  20                                          DISMISS
     STATE OF QATAR, STONINGTON
  21 STRATEGIES LLC, NICOLAS D.               [Memorandum of Points and
     MUZIN, GLOBAL RISK ADVISORS              Authorities, Opposition to Request for
  22 LLC, KEVIN CHALKER, DAVID                Judicial Notice, Declaration of Lee S.
     MARK POWELL, MOHAMMED BIN                Wolosky, and Proposed Order filed
  23 HAMAD BIN KHALIFA AL THANI,              concurrently herewith]
     AHMED AL-RUMAIHI, and DOES 1-
  24 10,                                      The Honorable John F. Walter
  25              Defendants.                 Hearing Date: July 30, 2018
                                              Time: 1:3 0pm
  26                                          Courtroom: 7A
  27
  28
                                                                   Case No. 18-CV-02421-JFW
                                                    DECLARATION OF JOSHUA N. FRIEDMAN
Case 2:18-cv-02421-JFW-E Document 135 Filed 07/09/18 Page 2 of 5 Page ID #:2540




   1                DECLARATION OF JOSHUA N. FRIEDMAN
   2         I, Joshua N. Friedman, hereby declare as follows:
   3         1.    lam Counsel in the law firm of Boies Schiller Flexner LLP. I
   4 represent Plaintiffs in this action.
   5         2.     Plaintiffs have engaged in third-party discovery aimed at, among
   6 other things, obtaining admissible forensic evidence relating to the attack
   7 against Plaintiffs and the exfiltration of emails, documents, and data belonging
   8 to them. This forensic evidence relating to the attack and the attackers will be
   9 used to prove attribution at trial.
  10         3.    On March 2, 2018, Plaintiffs retained Ankura Consulting to
  11   forensically investigate possible unauthorized access to Broidy Capital
  12 Management (“BCM”) data systems. I have co-supervised and co-directed
  13 Ankura’s investigative work since the retention of my law firm by Plaintiffs.
  14         4.    Initial investigative activity included searching for spear phishing
  15 emails, acquiring available system logs, and securing forensically sound
  16 copies of affected systems.
  17         5.    On March 5, 2018 Ankura provided BCM’s IT support provider,
  18 Argyle Corporation (Argyle), with a copy of the Forensics Tool Kit (FTK)
  19 disk imager to secure evidence from BCM’s email server identified as host
  20 name “EX1.” Ankura directed Argyle employees through the process of using
  21   FTK to produce a forensic copy of EX1 and the imaging process was
  22 completed on March 8, 2018. Once complete Argyle shipped the FTK
  23 produced image of EX1 directly to Ankura. Ankura received a hard-drive
  24 containing the FTK image of EX1 on March 14, 2018 and logged it into
  25 evidence.
  26
  27
                                            -   1   -                 Case No. 18-cv-0242I-JFW
  28                                                    DECLARATION OF JOSHUA N. FRIEDMAN
Case 2:18-cv-02421-JFW-E Document 135 Filed 07/09/18 Page 3 of 5 Page ID #:2541




    1        6.     Ankura analyzed this evidence and, among other steps, obtained
   2 available logs including Internet Information System (“IIS”) logs that
   3 recorded data related to external connections to the BCM server. The data
   4 includes Internet Protocol (“IP”) addresses that maliciously and without
   5 authorization connected to the BCM network. Ankura further relied on both
   6 publicly available and proprietary methods to determine ownership of the
   7 Internet Protocol (“IP”) addresses observed in the attack.
   8         7.     The following conclusions were reached as a result of the
   9 foregoing forensic investigation.
  10    The Attack Was Large Scale and Sophisticated
  11         8.     Plaintiffs have determined that the attackers accessed Plaintiffs’
  12 server located in California and executed commands on that server to extract
  13 data from Plaintiffs’ server.
  14         9.     Plaintiffs have determined that the attackers extracted data
  15 between January 16 to February 25 and accessed Plaintiffs’ server hundreds of
  16 thousands of times during that period.
  17         10.    Plaintiffs have determined that the attackers used stolen
  18 credentials (username and password) to access Plaintiffs’ server in California.
  19         11.    Plaintiffs have seen evidence suggesting that that the attackers
  20 were working as part of a group that has at least 24 members.
  21         12.    Plaintiffs have been able to ascertain ownership information
  22 associated with most of the malicious IP addresses used in the attack and in
  23 the exfiltration of Plaintiffs’ emails, documents, and data.
  24          13.   Almost all of the IP addresses that Plaintiffs have identified as
  25 having been used in the attack are associated with Virtual Private Network
  26
  27
                                             -2-                 Case No. 18-cv-02421 -JFW
  28                                                DECLARATION OF JOSHUA N. FRIEDMAN
Case 2:18-cv-02421-JFW-E Document 135 Filed 07/09/18 Page 4 of 5 Page ID #:2542




   1   (“VPN”) providers. Among other features, VPN technology allows internet
   2 users to shield their true location and identity from the servers they connect to.
   3         14.    The attackers’ use of VPN services limits the ability of Plaintiffs
   4 to easily identify the true location of the attackers.
   5         15.   The attackers used VPN servers located in the United States,
   6 including IP addresses associated with servers in California, Utah, Texas,
   7 Georgia, Florida, Illinois, New Jersey, and New York.
   8         16.   In addition, the attackers have used services offered by U.S.
   9 companies as tools in the attack, including services offered by Bitly,
  10 Cloudinary, Dropbox, Google, and TinyURL.
  11         17.   At points, the attackers did not only use these U.S. services, but
  12 also used, accessed, and transmitted files stored on those companies’ servers
  13 to carry out the attacks.
  14 The Direct Vermont Attack
  15         18.   Plaintiffs have identified numerous Internet Service Providers
  16 (“ISPs”) used in the attacks against Plaintiffs.
  17         19.    Plaintiffs have identified two IP addresses used in the attack that
  18 are associated with Vermont Telephone Company (“VTel”), an ISP in
  19 Vermont.
  20         20.   In response to a subpoena issued to VTel, VTel provided
  21   evidence that established that the Vermont IP addresses related to the attack
  22 were registered to small companies located in Killington, VT and in
  23 Wallingford, VT, which are located approximately 22 miles from each other.
  24         21.    These two IP addresses are: 66.220.241.16 (Killington, VT) and
  25 66.220.235.177 (Wallingford, VT).
  26
  27
                                             - 3   -                 CaseNo. 18-cv-02421-JFW
  28                                                   DECLARATION OF JOSHUA N. FRIEDMAN
Case 2:18-cv-02421-JFW-E Document 135 Filed 07/09/18 Page 5 of 5 Page ID #:2543




   1         22.   Forensic analysis of Plaintiffs’ IIS logs demonstrates that users
   2 from these Vermont IP addresses directly accessed Plaintiffs’ servers 178
   3 times from February 12, 2018 to February 25, 2018.
   4         23.   The access from these IP addresses to Plaintiffs’ servers appears
   5 to have been direct, meaning that there is no evidence it was associated with
   6 VPNs or similar anonymization tools.
   7         24.   With the exception of the IP addresses in Vermont and one in
   8 Qatar, all of the IP addresses that accessed Plaintiffs’ servers from January 16,
   9 2018 to February 25, 2018 were associated with VPNs or similar
  10 anonymization tools.
  11   The Dissemination of Stolen Documents to the Media
  12         25.    After extraction of the stolen documents in electronic format, the
  13 documents were disseminated in the United States to U.S. media outlets as
  14 PDFs. PDFs disseminated to U.S. media organizations bear time stamps
  15 suggesting they were created in the Central and Eastern time zones of the
  16 United States.
  17
  18         I declare under penalty of perjury under the laws of the United States
  19 that the foregoing is true and correct.
 20
 21    Dated: July 9, 2018
 22                                                Joshua N. Friedman
                                                   Counsel for Plaintiffs
 23
 24
 25
 26
 27
                                               “   4   -                 Case No. 18-CV-02421-JFW
 28                                                        DECLARATION OF JOSHUA N. FRIEDMAN
